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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiffs,          )
                                     )                4:06CR3016
           v.                        )
                                     )
ARMANDO GARCIA-DELACRUZ,             )
MARCO M. PRUNEDA,                    )        REPORT, RECOMMENDATION,
                                     )               AND ORDER
                Defendants.          )
                                     )
                                     )



                              INTRODUCTION


     The defendant, Armando Garcia-Delacruz has moved to suppress
any and all evidence, including statements, obtained as a result
of the January 25, 2006 search of his residence located in
Hastings, Nebraska.     Filing 39.       Garcia-Delacruz claims that the
Adams County Special Response Team (SRT) did not reasonably
believe that he resided and was currently present at this
residence when it executed a federal arrest warrant.              Garcia-
Delacruz further claims that the initial warrantless search of
his residence violated his fourth amendment rights, and because
evidence found during this search was later used to obtain a
search warrant, any evidence found during the subsequent search
of his home pursuant to a warrant must be suppressed as fruit of
the unlawful warrantless search.         For the reasons discussed
herein, I shall recommend denial of the defendant’s motion.




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                            FACTUAL FINDINGS


     For a period of approximately six to eight months prior to
January 19, 2006, Deputy Glen Kemp of the Adams County Sheriff’s
Department had been investigating possible criminal activity
connected with Garcia-Delacruz’s home in Hastings, Nebraska.
This ongoing investigation included conversations with three
confidential informants who stated that Garcia-Delacruz resided
at this address and was involved in methamphetamine trafficking.
Garcia-Delacruz was indicted on January 20, 2006, and a warrant
was issued fro his arrest on January 23, 2006.             Filing 1
(Indictment); Ex. 7 (Arrest Warrant).


     Anticipating that Garcia-Delacruz would be found and the
arrest warrant executed at his Hastings residence, the SRT Team
began surveillance of his home on January 25, 2006.              Between 5:00
p.m. and 6:00 p.m., law enforcement officers saw an individual
matching the description of Garcia-Delacruz outside the residence
repairing an automobile.      Soon thereafter, several individuals
arrived at the residence.      Therefore, in order to avoid or reduce
any confrontation with bystanders while making the arrest, the
SRT Team decided to immediately proceed with executing the felony
arrest warrant for Garcia-Delacruz.


     Simultaneous with the SRT Team’s decision to approach and
apprehend Garcia-Delacruz, he and another individual entered the
residence through a rear door of the home.           The door was still
open when the SRT officers reached the house.            They proceeded
through the door and saw Garcia-Delacruz and another individual
standing below them in the basement of the home.             There were no
stairs to access the basement, only a broken step ladder, so
Deputy Kemp and two other SRT members jumped into the basement,


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and immediately apprehended Garcia-Delacruz and the other
individual.


     Though there did not appear to be anyone else present,
Deputy Kemp remained concerned that others may have been hiding
in the basement.    Therefore, Deputy Kemp quickly surveyed the
immediate proximity of Garcia-Delacruz’s arrest and a portion of
the basement which was separated by a partially built wall.
While doing so, Deputy Kemp saw, in plain view, two glass pipes
for smoking controlled substances, three firearms, and various
rounds of 9 mm ammunition.         The officers then removed Garcia-
Delacruz and the other individual from the residence.


     While the SRT Team was conducting the surveillance that
ultimately culminated in Garcia-Delacruz’s arrest, other law
enforcement agents were in the process of drafting a warrant
application to search Garcia-Delacruz’s residence.               The
information gleaned by SRT officers during Garcia-Delacruz’s
arrest was relayed to the officers preparing the application and
was included in the application.            The search warrant affidavit
included the following:

     •     Statements by a confidential informant that Garcia-
           Delacruz had repeatedly offered methamphetamine instead
           of wages for work performed on his basement, and kept a
           sawed-off shotgun and several other weapons within his
           home;

     •     Information about suppliers and sub-dealers working
           with Garcia-Delacruz;

     •     Facts regarding Garcia-Delacruz’s confrontations with
           two separate confidential informants which included the
           use of a firearm to threaten and intimidate them;

     •     The information provided by Deputy Kemp and SRT
           officers concerning their observations of glass pipes,


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            firearms, and ammunition during Garcia-Delacruz’s
            arrest on January 25, 2006.

Ex. 2 (Warrant Application).


     The warrant application was presented to the undersigned
magistrate judge and a warrant was issued to search
Garcia-Delacruz’s home.     The search warrant ordered the Adams
County Sheriff’s Department to search for methamphetamine, papers
and monies which are proceeds or records of transactions for the
sale and delivery of drugs, glass pipes for smoking controlled
substances, and drug paraphernalia used in the distribution of
drugs.    Ex. 2 (Search Warrant).


     The search warrant was executed by the Adams County
Sheriff’s Department.     The officers seized a glass pipe with
residue, suspected methamphetamine, an electronic scale, guns,
ammunition, cell phones, phone cards, vehicle titles, and pieces
of mail addressed to Armando Garcia-Delacruz.1             Ex. 2 (Warrant
Return).


                             LEGAL ANALYSIS


     A.     Reasonable Belief as to Garcia-Delacruz’s Residence.


     Garcia-Delacruz argues that the SRT Team entered his home
without a reasonable belief that he resided and was currently
present at this residence.         A valid arrest warrant carries with
it the authority to enter the residence of the person named in


     1
      Though Garcia-Delacruz’s motion seeks suppression of
statements obtained as fruit of the alleged Fourth amendment
violations, no evidence nor arguments were offered regarding
statements.

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the warrant in order to execute the warrant so long as the police
reasonably believe the suspect resides at the place to be entered
and is currently present in the dwelling.            Payton v. New York,
445 U.S. 573, 603 (1980); United States v. Powell, 379 F.3d 520,
523 (8th Cir. 2004).


     On January 23, 2006, Garcia-Delacruz was the subject of a
federal arrest warrant issued by the United States District Court
for the District of Nebraska.       Information from confidential
informants indicated the Hastings residence under surveillance
was Garcia-Delacruz’s primary residence, and during the
surveillance, law enforcement officers saw an individual matching
Garcia-Delacruz’s description outside the residence and later
entering the home.      In addition, in an unrelated incident,
Garcia-Delacruz had told Deputy Kemp that this address was his
permanent residence.      Based on these facts, the police officers
had sufficient reason to believe Garcia-Delacruz resided at and
was currently present within this dwelling.


     B.    The Initial Warrantless Search--the “Protective Sweep.”


     Garcia-Delacruz claims the SRT Team did not have lawful
authority to conduct an initial “protective sweep” of his home
without a search warrant.      Law enforcement officials may not
enter a home to conduct a search absent a search warrant or
exigent circumstances.      United States v. Vance, 53 F.3d 220, 222
(8th Cir. 1995).    Exigent circumstances exist when law
enforcement officials have “legitimate concern for the safety” of
themselves.   Id.


     However, upon entering a residence to execute an arrest
warrant, officers may make a limited “protective sweep” of a


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residence if they have a “reasonable belief based on specific and
articulable facts that the area to be swept harbors an individual
posing a danger to those on the arrest scene.”                United States v.
                                th
Walsh, 299 F.3d 729, 733 (8          Cir. 2002) (citing Maryland v.
Buie, 494 U.S. 325, 337 (1990)).          A “protective sweep” search is
limited to conducting a cursory inspection of spaces from which
an attack could be immediately launched.               Maryland v. Buie, 494
U.S. 325, 337 (1990); United States v. Boyd, 180 F.3d 967, 975
(8th Cir. 1999).


     The officers had information that Garcia-Delacruz harbored
weapons and illegal drugs in his home.            A confidential informant
had disclosed that he had seen several weapons within Garcia-
Delacruz’s home and on a number of occasions, Garcia-Delacruz and
Marco Pruneda had threatened to use violence against them.                   Under
such circumstances, the officers had a legitimate concern that
Garcia-Delacruz could pose a threat to their safety.


     Garcia-Delacruz contends, however, that officers cannot use
exigent circumstances they created to justify a warrantless
search of a home.       He claims the SRT Team could have asked
Garcia-Delacruz to exit the basement instead of entering the
home, and their choice to enter cannot create a permissible basis
for conducting a protective sweep of the home.                Garcia-Delacruz
claims that had the officers arrested him outside his home, they
could have eliminated their safety concerns simply by leaving the
area, and a protective sweep would have been unnecessary.


     However, the officers lawfully entered the home to conduct
the arrest.   When they did so, they knew Garcia-Delacruz was not
alone.   He had entered the home with another person, and others
had arrived at the house.       “Law enforcement officers are not


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required to avoid danger” and, more specifically, they were not
required to ignore the presence of others at the scene even if
the subject of the warrant has already been arrested.               Vance, 53
F.3d at 221 n.4.


     Upon entering Garcia-Delacruz’s home, the officers
immediately saw Garcia-Delacruz and another individual standing
below them in the basement.        Rather than allow Garcia-Delacruz to
exit the basement unattended, and leave another person in the
home, they entered the basement, secured the other person, and
apprehended Garcia-Delacruz before he could attempt to escape or
obtain a weapon to use against the officers.            Although Deputy
Kemp and the other SRT members had immediately subdued Garcia-
Delacruz, the basement was dimly lit, was divided by a partial
wall, and the officers were unsure whether anyone else was
present who could pose a threat to their safety.             Entering the
basement rather than asking Garcia-Delacruz to exit, and then
performing a cursory “protective sweep” of Garcia-Delacruz’s
entire basement, was appropriate to assure the safety of the
officers.   Vance, 53 F.3d at 222 (holding exigent circumstances
justified warrantless entry of home after arrest where a third
person was present and officers had been informed that other
individuals with weapons were in the house); United States v.
Kaylor, 877 F.2d 658, 664 (8th Cir. 1989)(holding protective
sweep search was justified where the suspect was arrested
directly outside the home, that arrest may have alerted others
living in the home, the police did not know exactly how many
people remained inside, drugs were of a type and quantity easily
disposed of, and the arrested suspect was known to have a gun,
but the gun was not on his person at the time of arrest).




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     C.    The Search Warrant.


     Garcia-Delacruz argues that the search warrant was tainted
because some of the facts used to establish probable cause were
illegally discovered by the SRT Team during the protective sweep.
He claims the court must suppress the evidence obtained from the
search conducted pursuant to a warrant because such evidence is
“fruit of the poisonous tree.”       United States v. Wong Sun, 371
U.S. 471 (1963).


     It is well settled that an officer may, without a warrant,
seize objects that are in plain view, provided that the officer
is legally in a position to view the object and the object’s
incriminating character is immediately apparent.             United States
v. Khabeer, 410 F.3d 477, 482 (8th Cir. 2005); United States v.
Bustos-Torres, 396 F.3d 935, 944 (8th Cir. 2005).             As previously
explained, Deputy Kemp had the lawful right to perform a
“protective sweep” of the basement in order to secure the safety
of himself and his fellow officers.         The contraband discovered in
Garcia-Delacruz’s basement was effortlessly seen in plain view
during that protective sweep, and the incriminating character of
drug paraphernalia was immediately apparent to someone with
Deputy Kemp’s extensive training and experience.             Weapons and
ammunition were also in plain view.         Deputy Kemp did not have to
move any objects to discover any of these items.             Therefore, the
discovery of glass pipes, firearms, and ammunition in Garcia-
Delacruz’s home did not violate the Fourth Amendment, and
including this information in the search warrant application
could not taint the warrant obtained.


     Even assuming the evidence was illegally obtained, there was
independent information establishing probable cause to issue the


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search warrant.    “The inevitable discovery exception to the
exclusionary rule articulated in Nix v. Williams, 467 U.S. 431,
440-50, 104 S.Ct. 2501, (1984), allows the government to show by
a preponderance of the evidence that the evidence seized would
have been discovered in any event by lawful means.”              United
States v. Halls, 40 F.3d 275, 276 (8th Cir. 1994).             The
government must show:     (1) its decision to seek a search warrant
was independent from the illegal search, and (2) the information
obtained from the unlawful search did not affect whether the
magistrate judge issued the search warrant.            Murray v. United
States, 487 U.S. 533, 542 (1988); Khabeer, 410 F.3d 477, 483.


     Before Garcia-Delacruz was arrested, the Adams County
Sheriff’s Department began drafting an application for a warrant
to search his home.     Although the information provided by the SRT
Team was added to the warrant application, even without this
information, the statements of three confidential informants
along with the officers’ independent investigation established
that Garcia-Delacruz was continually involved in the distribution
of methamphetamine, had a tendency to use violence, and possessed
numerous firearms and significant amounts of methamphetamine in
his home.   Had the SRT not entered Garcia-Delacruz’s home and
seen illegal contraband, weapons, and ammunition, and had this
information not been included in the warrant application, the
Sheriff’s Department would nonetheless have established probable
cause to believe evidence of illegal activity would be found in
the home, and would have applied for and received a valid search
warrant.    Because the seized evidence would have been discovered
in any event by lawful means, the inevitable discovery exception
to the exclusionary rule precludes this court from suppressing
the evidence.     Segura v. U.S., 468 U.S. 796 (1984)(holding that
evidence seen in plain view during earlier illegal entry would


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not be suppressed where officers were independently seeking a
search warrant and the evidence would have inevitiably been
found); United States v. Templeman, 938 F.2d 122 (8th Cir.
1995)(upholding a search executed under a valid warrant even
though the affidavit for the warrant potentially contained
information obtained during a prior illegal search of the
premises).


      IT THEREFORE IS HEREBY RECOMMENDED to the Hon. Warren K.
Urbom, United States Senior District Judge, pursuant to 28 U.S.C.
§636(b)(1)(B), that the defendant’s motions to suppress, filings
39, be denied in all respects.


      The parties are notified that a failure to object to this
recommendation in accordance with the local rules of practice may
be held to be a waiver of any right to appeal the district
judge’s adoption of this recommendation.


     IT FURTHER HEREBY IS ORDERED: Trial is set for 9:00 a.m. on
December 18, 2006 for a duration of four trial days before the
Honorable Warren K. Urbom. Jury selection will be at the
commencement of trial.

      Dated this 1st Day of November, 2006.


                                   BY THE COURT:


                                   s/  David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge




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